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                            UNITED ST ATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations


 This Memorandum Opinion relates to:                         Case No. 1:13-mc-1288-RCL
 ALL CASES.


                                                ORDER

       For the reasons stated in the accompanying memorandum opinion, plaintiffs' motion [132]

for class certification is GRANTED. The Court hereby CERTIFIES the following three classes

pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3):
                .                           .                           .
           1. All current holders of junior preferred stock in Fannie Mae as of the
              date of certification, or their successors in interest to the extent
              shares are sold after the date of certification and before any final
              judgment or settlement (the "Fannie Preferred Class");

           2. All current holders of junior preferred stock in Freddie Mac as of
              the date of certification, or their successors in interest to the extent
              shares are sold after the date of certification and before any final
              judgment or settlement (the "Freddie Preferred Class"); and

           3. All current holders of common stock in Freddie Mac as of the date
              of certification, or their successors in interest to the extent shares are
              sold after the date of certification and before any final judgment or
              settlement (the "Freddie Common Class").

Excluded from the foregoing three classes (the "Classes") are defendants and the United States

Department of Treasury, as well as their respective officers and directors. ·

       The Court hereby APPOINTS plaintiff Joseph Cacciapalle as a class representative of the

Fannie Preferred Class and the Freddie Preferred Class.

       The Court hereby APPOINTS plaintiff Barry P. Borodkin as a class representative of the

Fannie Preferred Class.
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        The Court hereby APPOINTS plaintiffs Michelle M. Miller and Timothy J. Cassell as

class representatives of the Freddie Common Class.

        The Court hereby APPOINTS the law firms of Boies Schiller Flexner LLP; Kessler Topaz

Meltzer & Check, LLP; Grant & Eisenhofer, P.A.; and Bernstein Litowitz Berger & Grossman

LLP as Co-Lead Class Counsel.

       It is further ORDERED that the parties shall promptly meet and confer regarding an

appropriate form, content, and method of providing the notices to be disseminated to the Classes

pursuant to Federal Rule of Civil Procedure 23(c)(2)(B).

       It is further ORDERED that no later than forty-five (45) days following the entry of this

Order, the Parties shall submit a mutually satisfactory stipulation and proposed order setting forth

the agreed-upon form, content, and method of providing the notices to be disseminated to the

Classes pursuant to Federal Rule of Civil Procedure 23(c)(2)(B). If the parties are unable to reach

agreement regarding an appropriate form, content, and method of providing notice to the Classes,

Class plaintiffs shall move for an order approving a proposed form, content, and method of

providing notices to the Class pursuant to Federal Rule of Civil Procedure 23(c)(2)(B) no later

than forty-five (45) days following the entry of this Order.

       IT IS SO ORDERED.




 Date: - - - -- - - - -
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                                                                           C.
                                                                        Lamberth
                                                                          C.
                                                                   United States District Judge
